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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

ANTHONY A. GAZVODA                        )
                                          )
            Plaintiff,                    )           Case No: 2:15-cv-14099
                                          )
      v.                                  )
                                          )
JEH JOHNSON, in his official capacity as )
Secretary, of the Department of Homeland )
Security; R. GIL KERLIKOWSKE, in his )
Official capacity as Commissioner of U.S. )
Customs and Border Protection             )
                                          )
            Defendants.                   )
                                          )
____________________________________/

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                          VERIFIED COMPLAINT

     Plaintiff Anthony Gazvoda herby sues The Department of Homeland

Security (“DHS”) and United States Customs and Border Protection (“CBP”),

and states as follows:
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                                INTRODUCTION

1. Plaintiff brings this action to vindicate his federally protected rights under the

   Rehabilitation Act of 1973 (“Rehab Act”), after Defendant inexplicably and

   wrongfully denied his request for reasonable accommodations, requiring him

   to return to a work environment, which is not suited to his disability, and

   which will cause him grave mental and physical injury.

2. Plaintiff is a veteran who served in Afghanistan, and was subsequently

   diagnosed with Post Traumatic Stress Disorder (“PTSD”).

3. Plaintiff is a hard-working, dedicated border patrol agent whose only request

   is to be stationed in Michigan, along the northern border, which is free of

   environmental triggers, which exacerbate his PTSD, as opposed to his

   previous location in Laredo, TX.

4. Defendant’s denial of Plaintiff’s request for accommodation is unreasonable

   and in violation of Section 501 of the Rehab Act.

                        JURISDICTION AND VENUE

5. This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §

   1331, because Plaintiff’s claims arise under federal statutes, specifically

   Section 501 of the Rehabilitation Act of 1973.

6. Venue is proper in the Eastern District of Michigan, because Plaintiff resides

   in the Eastern District, and Defendant is subject to the Court’s personal
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   jurisdiction pursuant to 28 U.S.C. 1391, and because the events, acts, and

   omissions giving rise to Plaintiff’s claims occurred in this District.

                                    PARTIES

7. Plaintiff Anthony A. Gazvoda, an American war veteran, is an individual

   residing in Crawford County, MI.

      a. Plaintiff first applied for employment with Defendant CBP in 2008, but

          had to delay working with Defendant CBP because in 2009 he was

          deployed to Afghanistan.

      b. Upon returning from duty, Plaintiff began working with Defendant

          CBP as a Border Patrol Agent.

8. Plaintiff has standing to bring the present cause of action.

      a. Plaintiff is disabled according to the definition provided by the ADA

          (the standard imposed on Section 501 claims) because he suffers from a

          “mental impairment that substantially limits one or more major life

          activities.” 29 U.S.C. § 705; 42 U.S.C. 12101.

      b. Plaintiff requested a reasonable accommodation, which has been

          wrongfully denied by the Defendants.

9. Defendant DHS is a federal government agency.

10. Defendant CBP is a subdivision of Defendant DHS, charged with securing

   the borders of the United States.
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                         FACTUAL ALLEGATIONS

11. In 2008, Plaintiff applied for a position with Defendant CBP, but was forced

   to delay the application process when he was deployed to Afghanistan in

   2009.

12. Plaintiff served in combat in Afghanistan from January 2009 to November

   2009.

13. Upon returning from war, Plaintiff resumed the application process with

   Defendant CBP.

14. Immediately upon his return, Plaintiff experienced trouble sleeping. He

   sought help, and began seeing a counselor. By May of 2010, as a result of

   proactive counseling, Plaintiff was free of sleep issues.

15. Plaintiff began employment with Defendant CBP on or around September 11,

   2010.

16. After approximately five months of training in New Mexico with Defendant

   CBP, Plaintiff was stationed in Laredo, TX in February, 2011.

17. By April, 2011, Plaintiff began experiencing insomnia, anxiety, depression,

   and panic attacks.

18. Plaintiff sought help through the Veteran’s Administration (VA) in Laredo,

   TX, but he was not able to obtain help or benefits.
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19. As Plaintiff began experiencing more severe symptoms, he left Laredo, TX

   on unpaid administrative leave, to seek assistance at the VA in Grayling, MI.

20. At some point, Defendant CBP incorrectly listed Plaintiff as Absent Without

   Leave (“AWOL”), despite his having requested leave due to his ongoing

   mental health issues.

      a. Plaintiff vehemently worked with officials of Defendant CBP to correct

         his AWOL status, but Defendant CBP continuously ignored Plaintiff’s

         telephone calls and emails.

      b. Eventually, Defendant CBP retroactively changed Plaintiff’s AWOL

         status, and transitioned him to paid administrative leave while he

         sought mental healthcare.

      c. Plaintiff has been on paid administrative leave since Defendant CBP

         retroactively removed his AWOL status.

21. Plaintiff sought help with several mental health professionals through the

   VA, and was diagnosed with Post Traumatic Stress Disorder (“PTSD”).

22. Each mental health professional opined that Plaintiff is fully capable of

   fulfilling the job duties of a border patrol agent, but that being stationed in

   Laredo, TX significantly exacerbates symptoms of PTSD, because of the

   environmental similarities with his station and combat location in

   Afghanistan.
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23. Based on the recommendations of his treating physicians, Plaintiff requested

   that he be stationed in a less densely populated location, specifically, Sault

   Ste. Marie, MI.

24. Each of Plaintiff’s treating mental health professionals urged Defendant CBP

   to station Plaintiff in a more favorable location than Laredo, TX.

      a. Dr. Kirk Swabash, a board certified psychologist with the VA, wrote to

         the Office of Diversity and Civil Rights urging them to grant Plaintiff’s

         requested accommodation. Dr. Swabash stated that the requested

         accommodations would “allow Mr. Gazvoda to perform the essential

         functioning of his position.” Furthermore, Dr. Swabash expressed that

         being stationed in Michigan would be beneficial because it would allow

         Plaintiff to be stationed “near his treating VA office.” (Exhibit A,

         Accommodation Letter from Dr. Kirk Swabaah).

      b. Dr. Swabash drafted a second letter in which he indicated “[Plaintiff]

         had experiences outside the realm of usual human experiences and

         developed classic symptoms of PTSD.” “In my opinion clear

         relationship between job location […] and exacerbation of his

         symptoms.” (Exhibit B, Accommodation Letter from Dr. Kirk

         Swabash).
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      c. Dr. Robert Barger, a board certified psychologist, also provided a letter

         for Plaintiff regarding his request for accommodations, stating “[i]t is

         my opinion that this request of transfer to the Northern environment

         would be extremely beneficial and appropriate.” (Exhibit C,

         Accommodation Letter from Dr. Robert Barger). Dr. Barger’s

         report stated that Dr. Barger “would support hardship transfer back to

         northern area where there are less environmental triggers.” (Exhibit C).

      d. Plaintiff also sought treatment with John Haskin, a PhD psychologist,

         who opined that “Mr. Gazvoda may be able to return to his job as a

         border patrol officer he should only work in settings in which as few

         similarities as he faced in Afghanistan as is possible. If he is to function

         in this capacity, he will need a compassionate transfer from Laredo to

         as dissimilar a setting as possible. We would not recommend any

         setting on the Mexican border.” (Exhibit D, Report of John Haskin,

         PhD). This information was submitted to Defendant CBP.

      e. Plaintiff also sought treatment with Dr. Martin Vandenakker, D.O., who

         opined that “living in the city, around areas that were not familiar, his

         sleep cycle being off, and hearing people speaking foreign language

         had impacted his symptoms.” (Exhibit E, Report of Dr. Martin

         Vandenakker). This information was submitted to Defendant CBP.
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25. In addition to the opinions of his treating psychiatrists and psychologist,

   Plaintiff has a 70% VA Disability Rating, 50% of which is based on PTSD.

26. On October 5, 2015, Defendant CBP sent Plaintiff to an Independent Medical

   Examination (“IME”), with a psychiatrist named Dr. Craig Lemmen, MD.

   Strangely, Dr. Lemmen specializes in Forensic Psychiatry and Pediatric

   Psychiatry, but does not hold himself out as working with veterans or

   individuals with PTSD.

      a. Plaintiff felt uncomfortable during this evaluation, noticing that the

          IME did not appear to have any experience with veterans suffering

          from PTSD.

      b. Plaintiff has since diligently worked to obtain the IME’s report, but

          Defendant CBP has been uncooperative.

27. On November 16, 2015, Plaintiff was informed by Defendant CBP that his

   request for reasonable accommodation had been denied. Defendant CBP

   indicated that Plaintiff would be able to fulfill his duties in Laredo, TX, based

   solely on the opinion of Dr. Craig Lemmen. Plaintiff was ordered to return to

   work in Laredo, TX by November 23, 2015 at 8 A.M. or he would be listed as

   AWOL. (Exhibit F, Accommodation Denial Letter).
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28. Following receipt of this letter, Plaintiff began experiencing symptoms of

   PTSD, symptoms which, as of late, had largely been under control as a result

   of medication and treatment.

29. As the week progressed, Plaintiff’s symptoms became more severe, until

   Friday November 20, 2015, when he began experiencing chest pains.

30. On November 20, 2015, Plaintiff sought emergency treatment at Mid-

   Michigan Medical Center (“MMC”) in Midland, MI.

31. The treating physician at MMC ordered that Plaintiff not travel or return to

   work until he had undergone a stress test. (Exhibit G, Doctor

   Recommendation).

32. Plaintiff submitted this information to Defendant CBP, who informed

   Plaintiff that the note was not sufficient and he would still be required to

   return to Laredo, TX on November 23, 2015, or he would be listed as AWOL.

33. This situation has caused Plaintiff severe emotional distress, anxiety, and

   chest pain, and he is not mentally, emotionally, or physically capable of

   relocating to Laredo, TX by Monday November 23, 2015.

                                    COUNT I

VIOLATIONS OF SECTION 501 OF THE REHABILITATION ACT OF
                   1973 AS AMENDED

34. Plaintiff incorporates by reference all of the allegations contained in

   paragraphs 1 through 33, inclusively.
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 35. The stated purpose of the Rehab Act is “to empower individuals with

    disabilities to maximize employment, economic self-sufficiency,

    independence, and inclusion and integration into society.” 29 U.S.C. § 701.

 36. Section 501 of the Rehabilitation Act prohibits discrimination in

    employment, based on the standards governing Title I of the Americans with

    Disabilities Act (“ADA”). 29 U.S.C. § 791(f).

 37. Title I of the ADA provides that no entity “shall discriminate against a

    qualified individual on the basis of disability in regard to job application

    procedures, the hiring, advancement, or discharge of employees, employee

    compensation, job training, and other terms, conditions, and privileges of

    employment.” 42 U.S.C. § 12112(a).

 38. For purposes of Title I of the ADA and Section 501 of the Rehab Act,

    discrimination is defined as “not making reasonable accommodations to the

    known physical or mental limitations of an otherwise qualified individual with

    a disability who is an applicant or employee, unless such covered entity can

    demonstrate that the accommodation would impose an undue hardship on the

    operation of the business of such covered entity.” 42 U.S.C. § 12112(b)(5)(A).

 39. Plaintiff has requested reasonable accommodations in the form of being

    stationed at a border location that does not severely exacerbate his PTSD, the

    way being stationed in Laredo, TX did.
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 40. Plaintiff provided Defendant CBP with a plethora of medical records and

    documentation, all of which support his status as a qualified person with a

    disability, and opining that granting the requested accommodation would fully

    allow him to complete the duties of the job.

 41. Defendant wrongfully and inexplicably denied this request for

    accommodations, basing their decision solely on the opinion of an unqualified

    independent medical expert.

 42. By denying Plaintiff’s request for accommodations, Defendant has

    discriminated against Plaintiff, in violation of Title I of the ADA, and

    accordingly, has violated Section 501 of the Rehab Act.

 43. Defendants’ actions have caused irreparable harm, and an injunction ordering

    Defendants to grant the accommodation requested by Plaintiff should be

    issued, as Plaintiff does not have an adequate remedy at law.

WHEREFORE, Plaintiff requests the relief set forth below.

                            PRAYER FOR RELIEF

 44. A declaration that Defendants’ course of action has unlawfully violated

    Plaintiff’s rights under Section 501 of the Rehabilitation Act of 1973.

 45. An injunction preventing Defendants from ordering Plaintiff to return to

    Laredo, TX against medical advice, which will cause severe mental and

    physical injury.
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 46. A further injunction requiring Defendants to grant the requested

    accommodation.

 47. Reasonable Attorney’s fees and costs for the prosecution of this matter.

 48. Although Plaintiff does not specifically request damages at this time, he

    reserves the right to amend his Complaint in the future to add such a request,

    if it becomes necessary to compel Defendants to comply with federal law.

 49. All other relief that this Honorable Court deems just and proper.

                                      Respectfully submitted,

                                      NYMAN TURKISH PC

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Dated: November 21, 2015              Attorneys for Plaintiff
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